                       EXHIBIT B




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

JEFFREY S. MEADOWS,                                 )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    )
NORTHROP GRUMMAN INNOVATION                         )
SYSTEMS, INC.,                                      )
                                                    )
BAE SYSTEMS, INC.,                                  )
                                                    )
and                                                 )
                                                    )
BAE SYSTEMS ORDNANCE                                )
SYSTEMS, INC.,                                      )
                                                    )
       Defendants.                                  )

                           DECLARATION OF MATT LINKOUS

       I, Matt Linkous, declare, under penalty of perjury, that I am more than eighteen years of

age, of sound mind, and state that the following is true to the best of my knowledge, information,

and belief:

       1.      I am the Senior Labor Relations Manager for BAE Systems Ordnance Systems, Inc.

(“BAE OSI”) Radford Army Ammunition Plant (the “Arsenal”).

       2.      My office is physically located within the Arsenal.

       3.      The Arsenal is a munitions production facility that has operated continuously in

Southwest Virginia for more than seventy-five years.

       4.      The Arsenal is the primary propellant manufacturing facility for the United States

Department of Defense.




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       5.       BAE OSI is a federal contractor that has operated the Arsenal since it was awarded

the facility’s federal contract and BAE OSI started operating the Arsenal pursuant to the contract

in July 2012.

       6.       Jeffery S. Meadows (“Meadows”) was hired by BAE OSI as a full-time Program

Manager I, reporting to Michael Bate (“Bate”) at the Arsenal, When applying for his position,

Meadows interviewed on-site at the Arsenal.

       7.       During his employment with BAE OSI, Meadows’ office was located within the

Arsenal in Administrative Building 220, and his physical presence was normally required to

perform his duties within the Arsenal.

       8.       Building 220 does not require a badge reader scan to enter through the front

between the hours of 7:30 am and 4:30 pm Monday thru Friday. It does require a badge reader

scan to enter through the basement entrance on the North West Corner of Building 220 and at the

basement entrance at the loading dock. No badge reader scan is required to leave Building 220.

       9.       To reflect, in part, Meadows’ physical presence for his work within the Arsenal, I

am attaching hereto as Exhibit 1, a true and accurate copy of Meadows’ punch times (i.e. badge

reader scans) within the Arsenal from January 4, 2016 to May 1, 2017.

       10.      On June 21, 2017, I sent the letter attached to Meadows’ Amended Complaint as

Exhibit B from the Arsenal to Meadows notifying him that, following an investigation which began

on or around May 1, 2017, Meadows was found to have “violated [BAE OSI’s] Code of Conduct

and Ethics policies related to Conflict of Interest,” and he was found to have “violated [BAE OSI’s]

Timekeeping policy and mischarged time while [he] worked for BAE.” Accordingly, Meadows

was terminated from his employment with BAE at the Arsenal effective June 21, 2017.

       11.      The investigation that supported Meadows’ termination relied, in part, on

documents and information located within and originating from the Arsenal.

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                        EXHIBIT 1




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Date/Time           Name                       Location
   5/1/2017 12:34   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
    5/1/2017 8:17   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/28/2017 13:06    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/28/2017 8:10   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/28/2017 7:37   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/28/2017 7:36   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/27/2017 13:10    MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/27/2017 7:32   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/27/2017 7:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/26/2017 6:35   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/26/2017 6:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/25/2017 16:43    MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/25/2017 6:20   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/25/2017 6:19   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/24/2017 14:54    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/24/2017 7:27   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/24/2017 7:24   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
   4/24/2017 7:22   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/24/2017 7:20   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/21/2017 12:59    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/21/2017 7:48   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/21/2017 7:47   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/20/2017 16:44    MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/20/2017 15:44    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/20/2017 7:41   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/20/2017 7:39   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/19/2017 11:44    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   4/19/2017 6:56   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/19/2017 6:55   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
    4/6/2017 8:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/5/2017 16:37   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
    4/5/2017 6:59   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
    4/5/2017 6:58   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/4/2017 12:39   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
    4/4/2017 7:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   4/3/2017 16:35   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   4/3/2017 16:35   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
    4/3/2017 7:50   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
    4/3/2017 7:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/31/2017 15:15    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   3/31/2017 7:24   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   3/31/2017 7:23   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/27/2017 11:35    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   3/27/2017 7:29   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
   3/27/2017 7:29   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/24/2017 13:01    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   3/24/2017 8:47   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/23/2017 16:43    MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/23/2017 12:30    MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
   3/23/2017 7:50   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/22/2017 19:42    MEADOWS, JEFFREY   34416   B220 - Engineering East Hall North Door: ACU:3461099 (In)
 3/22/2017 16:57    MEADOWS, JEFFREY   34416   B220 - Engineering East Hall North Door: ACU:3461099 (In)
 3/22/2017 13:04    MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   3/22/2017 7:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/21/2017 16:46    MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/21/2017 16:44    MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 3/21/2017 12:41    MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)



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 3/21/2017 6:48   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/21/2017 6:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
3/20/2017 13:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/20/2017 8:08   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
3/17/2017 12:38   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/13/2017 12:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/13/2017 7:58   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/10/2017 7:28   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/10/2017 7:27   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/9/2017 18:08   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/9/2017 7:35   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/9/2017 7:33   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/8/2017 7:23   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/8/2017 7:21   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/7/2017 7:05   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/7/2017 6:56   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/7/2017 6:55   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/6/2017 13:24   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  3/6/2017 7:30   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/6/2017 7:28   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/5/2017 6:23   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/5/2017 4:37   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/5/2017 4:36   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  3/4/2017 9:52   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/4/2017 9:31   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/4/2017 8:48   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/4/2017 8:08   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/4/2017 7:03   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/4/2017 7:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/3/2017 13:07   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/3/2017 7:37   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/2/2017 7:39   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/1/2017 12:16   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
 3/1/2017 12:12   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
  3/1/2017 9:25   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (In)
  3/1/2017 7:24   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  3/1/2017 7:23   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
  3/1/2017 7:21   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
 2/27/2017 7:02   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 2/27/2017 7:01   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/17/2017 7:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/16/2017 15:10   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/16/2017 7:45   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
2/15/2017 13:04   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/14/2017 18:35   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
2/14/2017 18:31   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 2/14/2017 8:23   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/13/2017 7:55   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/10/2017 13:09   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 2/10/2017 8:03   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 2/9/2017 16:34   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
  2/9/2017 9:38   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/6/2017 12:24   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  2/6/2017 5:21   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  2/6/2017 5:20   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/3/2017 12:09   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  2/3/2017 8:07   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/2/2017 16:40   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)



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  2/2/2017 14:41   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/2/2017 10:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/1/2017 14:58   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
  2/1/2017 11:08   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 1/27/2017 12:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  1/27/2017 8:01   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 1/26/2017 12:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/26/2017 12:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/26/2017 8:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/25/2017 12:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/25/2017 7:35   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  1/21/2017 8:47   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  1/21/2017 8:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/20/2017 12:59   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  1/20/2017 7:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/19/2017 13:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/19/2017 7:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/15/2017 14:25   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 1/15/2017 14:24   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/13/2017 12:54   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  1/11/2017 7:13   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  1/11/2017 7:12   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  1/10/2017 7:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   1/9/2017 7:38   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
   1/6/2017 7:59   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 12/22/2016 8:39   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 12/21/2016 8:44   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
12/19/2016 12:06   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 12/19/2016 8:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
12/12/2016 13:40   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 12/9/2016 16:36   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  12/6/2016 8:07   MEADOWS, JEFFREY   34416   B220 - Operations North: ACU:3428700 (In)
  12/6/2016 7:17   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  12/6/2016 7:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 12/5/2016 16:54   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 12/5/2016 12:20   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  12/5/2016 8:13   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 12/2/2016 12:56   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  12/2/2016 8:06   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 12/1/2016 12:31   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  12/1/2016 8:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
11/30/2016 10:17   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
11/29/2016 16:52   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
11/29/2016 16:48   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
11/29/2016 16:47   MEADOWS, JEFFREY           B220 - R&D North: ACU:3428558 (In)
11/29/2016 16:46   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 11/29/2016 9:01   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
11/28/2016 16:58   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
11/28/2016 12:12   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/28/2016 7:39   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 11/23/2016 9:18   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/17/2016 9:36   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/17/2016 9:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 11/16/2016 9:17   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 11/15/2016 7:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
11/14/2016 17:14   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
11/14/2016 17:08   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
11/14/2016 16:52   MEADOWS, JEFFREY   34416   B220 - Operations North: ACU:3428700 (In)



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11/14/2016 11:13   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/14/2016 8:02   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
11/11/2016 10:05   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/9/2016 12:37   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  11/9/2016 9:54   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  11/9/2016 7:32   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 11/8/2016 12:13   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  11/8/2016 7:06   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  11/8/2016 7:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 11/7/2016 16:33   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 11/7/2016 15:28   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/7/2016 12:40   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  11/7/2016 7:54   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/4/2016 12:22   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  11/4/2016 8:04   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  11/4/2016 8:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 11/3/2016 12:20   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 11/3/2016 12:03   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  11/3/2016 7:55   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/28/2016 12:17   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/26/2016 12:13   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 10/26/2016 8:33   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 10/25/2016 8:04   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/24/2016 12:06   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 10/24/2016 8:08   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 10/21/2016 8:23   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/20/2016 13:28   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
10/20/2016 12:04   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 10/20/2016 8:13   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
10/19/2016 15:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 10/19/2016 8:07   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
10/18/2016 16:19   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/17/2016 12:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 10/17/2016 7:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
10/14/2016 12:25   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 10/14/2016 7:33   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
10/11/2016 12:32   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
10/11/2016 11:12   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 10/11/2016 7:47   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 10/3/2016 14:28   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  10/3/2016 8:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 9/26/2016 11:17   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/26/2016 10:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 9/26/2016 10:29   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
  9/26/2016 9:52   MEADOWS, JEFFREY   34416   Gates - Gate 1 WT Main (In)
  9/26/2016 7:51   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/23/2016 7:53   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 9/22/2016 12:16   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/22/2016 7:57   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 9/21/2016 13:09   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/21/2016 8:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 9/19/2016 12:34   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/19/2016 8:01   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/16/2016 9:20   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/16/2016 7:55   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/15/2016 12:22   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/15/2016 8:02   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/13/2016 14:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)



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 9/13/2016 7:58   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/9/2016 13:33   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/9/2016 12:39   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/9/2016 7:04   MEADOWS, JEFFREY   34416   B220 - Operations North: ACU:3428700 (In)
  9/9/2016 6:58   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  9/9/2016 6:52   MEADOWS, JEFFREY   34416   B220 - R&D South: ACU:3428567 (In)
  9/9/2016 6:52   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
  9/9/2016 6:52   MEADOWS, JEFFREY           B220 - R&D North: ACU:3428558 (In)
  9/9/2016 6:50   MEADOWS, JEFFREY   34416   B220 - Contracts: ACU:3428561 (In)
  9/9/2016 6:41   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  9/9/2016 6:39   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  9/7/2016 7:53   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/6/2016 12:16   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  9/6/2016 7:37   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 9/2/2016 18:12   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 9/2/2016 18:11   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 9/2/2016 18:10   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  9/2/2016 8:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/26/2016 12:10   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 8/26/2016 9:00   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 8/23/2016 7:46   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/23/2016 7:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
8/22/2016 13:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/22/2016 8:01   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 8/22/2016 7:23   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/22/2016 7:22   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 8/19/2016 8:00   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 8/19/2016 7:35   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/19/2016 7:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/18/2016 11:30   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 8/18/2016 7:34   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/18/2016 7:33   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/16/2016 15:55   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/16/2016 14:05   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
8/16/2016 12:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/16/2016 7:11   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/16/2016 7:09   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 8/16/2016 6:51   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/16/2016 6:47   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/16/2016 6:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/15/2016 17:01   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
8/15/2016 17:01   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
8/15/2016 14:53   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/15/2016 7:22   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/15/2016 7:21   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
8/12/2016 15:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/12/2016 7:43   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/9/2016 17:04   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 8/9/2016 15:45   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  8/9/2016 7:22   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  8/9/2016 7:21   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 8/8/2016 12:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  8/8/2016 7:54   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/29/2016 7:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/28/2016 9:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/28/2016 9:44   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
 7/28/2016 8:03   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (In)
 7/28/2016 7:29   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)



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 7/28/2016 7:27   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/25/2016 17:14   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/25/2016 17:11   MEADOWS, JEFFREY   34416   B220 - Finance: ACU:3461067 (In)
7/25/2016 15:28   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/25/2016 7:51   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/25/2016 7:50   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/24/2016 9:02   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/24/2016 9:01   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/22/2016 13:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/22/2016 8:20   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/22/2016 8:13   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
7/20/2016 17:17   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/20/2016 14:10   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/20/2016 7:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/19/2016 17:56   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/19/2016 16:58   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/19/2016 15:27   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
7/19/2016 11:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/19/2016 10:00   MEADOWS, JEFFREY   34416   B220 - Engineering Conference Room: ACU:3428559 (In)
 7/19/2016 8:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/18/2016 21:14   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/18/2016 18:06   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/18/2016 18:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/18/2016 7:01   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/16/2016 16:14   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/16/2016 14:03   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
7/16/2016 14:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
7/15/2016 11:58   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/15/2016 7:07   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/15/2016 7:06   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/13/2016 7:04   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/13/2016 7:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/10/2016 9:33   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/10/2016 8:14   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 7/10/2016 8:13   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 7/8/2016 12:11   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  7/8/2016 7:47   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  7/7/2016 7:40   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  7/6/2016 7:56   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/5/2016 16:14   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  7/5/2016 7:46   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  7/5/2016 7:46   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  7/5/2016 7:44   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 7/1/2016 13:57   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  7/1/2016 8:26   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 6/27/2016 7:49   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
6/24/2016 11:47   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 6/24/2016 9:10   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 9:10   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 9:10   MEADOWS, JEFFREY           B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 7:39   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall North Door: ACU:3545209 (In)
 6/24/2016 7:39   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 7:39   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 7:39   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 7:39   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/24/2016 7:37   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
6/21/2016 12:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 6/21/2016 7:39   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)



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6/20/2016 14:37   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
6/20/2016 14:37   MEADOWS, JEFFREY         B220 - Engineering West Hall South Door: ACU:3428570 (In)
6/20/2016 14:36   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
6/20/2016 11:26   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
6/20/2016 11:21   MEADOWS, JEFFREY   34416 Gates - Gate 1 DT Island (Out)
6/20/2016 10:45   MEADOWS, JEFFREY   34416 Gates - Gate 1 DT Island (In)
6/20/2016 10:00   MEADOWS, JEFFREY   34416 B220 - Engineering East Hall North Door: ACU:3461099 (In)
 6/20/2016 9:50   MEADOWS, JEFFREY   34416 B220 - Engineering East Hall North Door: ACU:3461099 (In)
 6/20/2016 7:56   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
 6/20/2016 7:55   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
6/17/2016 11:39   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 6/17/2016 7:58   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
6/16/2016 13:51   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 6/9/2016 14:01   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 6/7/2016 12:35   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
  6/7/2016 7:28   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
  6/7/2016 7:27   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 6/6/2016 16:23   MEADOWS, JEFFREY   34416 B220 - R&D North: ACU:3428558 (In)
 6/6/2016 13:10   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
  6/6/2016 7:19   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
  6/6/2016 7:17   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 6/3/2016 12:14   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
  6/3/2016 7:40   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 6/2/2016 11:46   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
  6/2/2016 7:04   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
  6/2/2016 7:03   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/31/2016 5:13   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
 5/31/2016 5:13   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
5/27/2016 11:59   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
5/27/2016 11:06   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
5/18/2016 15:05   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
5/18/2016 12:32   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/18/2016 6:46   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
 5/18/2016 6:44   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
5/16/2016 16:36   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
5/16/2016 16:35   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
5/16/2016 12:08   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 5/16/2016 7:37   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
5/13/2016 12:25   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 5/13/2016 7:48   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/10/2016 7:42   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/9/2016 12:37   MEADOWS, JEFFREY   34416 B220 - R&D North: ACU:3428558 (In)
 5/9/2016 12:36   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
 5/9/2016 10:33   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/5/2016 13:56   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
  5/5/2016 7:43   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
  5/5/2016 7:42   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall North Door: ACU:3545209 (In)
  5/5/2016 7:42   MEADOWS, JEFFREY         B220 - Engineering West Hall South Door: ACU:3428570 (In)
  5/5/2016 7:40   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/3/2016 16:53   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
  5/3/2016 7:25   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
 5/2/2016 16:46   MEADOWS, JEFFREY   34416 B220 - Engineering West Hall South Door: ACU:3428570 (In)
 5/2/2016 12:24   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 5/2/2016 10:41   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
  5/2/2016 7:37   MEADOWS, JEFFREY   34416 B220 Loading Dock (In)
4/29/2016 12:21   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
 4/29/2016 7:56   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)
4/28/2016 16:54   MEADOWS, JEFFREY   34416 B220 - B220 NW Corner Door (In)



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 4/28/2016 8:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/27/2016 13:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/26/2016 7:04   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/26/2016 7:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/25/2016 13:41   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/25/2016 7:43   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/25/2016 7:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/22/2016 12:35   MEADOWS, JEFFREY   34416   B220 - R&D North: ACU:3428558 (In)
4/22/2016 11:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/22/2016 8:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/22/2016 8:11   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
 4/22/2016 7:57   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (In)
 4/22/2016 7:29   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/20/2016 15:17   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/20/2016 15:11   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
4/20/2016 14:21   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (In)
4/20/2016 12:13   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/20/2016 7:50   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/19/2016 12:28   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/19/2016 11:08   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/19/2016 7:44   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/18/2016 12:38   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
4/18/2016 12:37   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/18/2016 7:50   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/18/2016 7:48   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/15/2016 12:57   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/15/2016 12:28   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/15/2016 7:50   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/14/2016 12:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/14/2016 7:51   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
4/13/2016 14:54   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/13/2016 14:48   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (Out)
4/13/2016 12:56   MEADOWS, JEFFREY   34416   Gates - Gate 1 DT Island (In)
4/13/2016 12:29   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/13/2016 7:44   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/12/2016 8:25   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
4/11/2016 13:50   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/11/2016 7:56   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/7/2016 12:59   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/7/2016 12:58   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  4/7/2016 7:42   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  4/7/2016 7:42   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  4/7/2016 7:41   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/6/2016 16:41   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 4/6/2016 14:32   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  4/6/2016 7:58   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/5/2016 16:38   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  4/5/2016 9:54   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 4/4/2016 14:00   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  4/4/2016 8:00   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  4/4/2016 7:58   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 4/1/2016 13:52   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  4/1/2016 7:55   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
  4/1/2016 7:54   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/31/2016 17:28   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/31/2016 17:26   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/31/2016 15:26   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/31/2016 7:49   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)



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3/30/2016 12:41   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/30/2016 8:02   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/29/2016 14:28   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
3/29/2016 13:56   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
3/29/2016 12:04   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/29/2016 12:02   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/29/2016 10:00   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall North Door: ACU:3461099 (In)
 3/29/2016 8:06   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/28/2016 16:48   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/28/2016 13:45   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/28/2016 13:44   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/28/2016 8:32   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 3/28/2016 7:23   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/28/2016 7:22   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
3/24/2016 15:35   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
3/24/2016 15:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/24/2016 9:24   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/24/2016 8:58   MEADOWS, JEFFREY   34416   B220 - HR: ACU:3428703 (In)
 3/24/2016 7:42   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/24/2016 7:40   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/23/2016 7:51   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/21/2016 17:19   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/21/2016 13:16   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/21/2016 13:14   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/21/2016 11:45   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 3/21/2016 9:55   MEADOWS, JEFFREY   34416   B220 - Finance: ACU:3461067 (In)
 3/21/2016 9:02   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/21/2016 8:43   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
 3/21/2016 7:41   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/17/2016 15:46   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/17/2016 14:01   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
3/17/2016 14:00   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
3/16/2016 17:09   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/16/2016 15:57   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/16/2016 15:03   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/16/2016 15:01   MEADOWS, JEFFREY   34416   B220 - Engineering East Hall South Door: ACU:3428509 (In)
3/16/2016 12:45   MEADOWS, JEFFREY   34416   B220 - HR: ACU:3428703 (In)
3/16/2016 12:44   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
3/16/2016 12:42   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/16/2016 9:40   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/16/2016 8:19   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/16/2016 8:17   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 3/10/2016 7:18   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/9/2016 17:10   MEADOWS, JEFFREY   34416   B220 - Engineering West Hall South Door: ACU:3428570 (In)
 3/9/2016 13:22   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
  3/9/2016 7:27   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/8/2016 12:38   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  3/8/2016 7:26   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/7/2016 12:26   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  3/7/2016 7:52   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 3/4/2016 12:48   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  3/4/2016 7:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/29/2016 13:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/29/2016 7:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/26/2016 7:51   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/25/2016 15:09   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/25/2016 7:38   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 2/24/2016 8:07   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)



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2/23/2016 16:34   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/23/2016 9:15   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/22/2016 13:03   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
 2/22/2016 7:57   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
2/19/2016 13:53   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/19/2016 7:49   MEADOWS, JEFFREY   34416   B220 Loading Dock (In)
2/18/2016 15:04   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/18/2016 7:50   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/17/2016 13:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/17/2016 8:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/16/2016 8:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/12/2016 5:56   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/11/2016 8:02   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
2/10/2016 12:17   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/10/2016 7:48   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/9/2016 13:14   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/9/2016 7:53   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/8/2016 12:48   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/8/2016 8:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/8/2016 7:59   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/5/2016 13:05   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/5/2016 7:35   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/1/2016 14:11   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 2/1/2016 10:43   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  2/1/2016 7:51   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/30/2016 9:15   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/29/2016 7:45   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/28/2016 13:14   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/28/2016 7:32   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/27/2016 7:50   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/26/2016 15:51   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/26/2016 7:46   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/25/2016 12:52   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/25/2016 8:16   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/21/2016 16:21   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/21/2016 7:51   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/20/2016 7:18   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/19/2016 7:03   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/18/2016 7:51   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/15/2016 7:43   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/14/2016 11:52   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/13/2016 15:43   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/13/2016 7:23   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/12/2016 7:32   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
1/11/2016 13:00   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/11/2016 7:29   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/8/2016 7:29   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/7/2016 12:21   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/7/2016 7:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/6/2016 7:30   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/5/2016 13:23   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
  1/5/2016 7:25   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)
 1/4/2016 13:01   MEADOWS, JEFFREY   34416   B220 - B220 NW Corner Door (In)




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